 Probation Form No. 35 (1/92)
                                                                     Report and Order Terminating Probation /
                                                                                           Supervised Release
                                                                             Prior to Original Expiration Date


                                UNITED STATES DISTRICT COURT
                                     Western District of North Carolina


UNITED STATES OF AMERICA

                        vs.                                        Crim. No. 0419 3:05CR00103

Corey Edwards

       On 6/11/2010, the above named was placed on Supervised Release for a period of eight (8) years. He
has complied with the rules and regulations of Supervised Release and is no longer in need of supervision. It is
accordingly recommended that Corey Edwards be discharged from supervision.


                                                            Respectfully submitted,

                                                            by s/ Jason M. Kemp
                                                               Jason M. Kemp
                                                               U.S. Probation Officer
                                                               200 South College St
                                                               Suite 1650
                                                               Charlotte, NC 28202
                                                               704-350-7617
Approved By:
 s/ James C. Kent Jr.
James C. Kent Jr.
Supervising U.S. Probation Officer

                                          ORDER OF THE COURT

Pursuant to the above report, it is ordered that the defendant be discharged from Supervised Release and that the
proceedings in the case be terminated.

                                                            Date: April 14, 2015




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